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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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10       JEFFREY C.,1                                    Case No. EDCV 20-2268-KK
11                                   Plaintiff,
12                          v.                           JUDGMENT
13       KILOLO KIJAKAZI, Acting
         Commissioner of Social Security,2
14
                                        Defendant.
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17            Pursuant to sentence four of 42 U.S.C. § 405(g), IT IS ADJUDGED that the
18   decision of the Commissioner of the Social Security Administration is REVERSED,
19   and this action is REMANDED for further administrative proceedings.
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21       Dated: September 30, 2021
22                                                HONORABLE KENLY KIYA KATO
                                                  United States Magistrate Judge
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26   1      Partially redacted in compliance with Federal Rule of Civil Procedure
     5.2(c)(2)(B) and the recommendation of the Committee on Court Administration and
27   Case Management of the Judicial Conference of the United States.
28   2      Kilolo Kijakazi, Acting Commissioner of Social Security, is substituted as the
     Defendant pursuant to Rule 25(d) of the Federal Rules of Civil Procedure.
